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                                                 January 12, 2023



Hon. Virginia K. DeMarchi
United States Magistrate Judge
Courtroom 2 – 5th Floor
San Jose Courthouse
280 South 1st Street
San Jose, CA 95113

         Re:       Supplemental Submission re Joint Letter Brief (Dkt. 129) in RJ, et al. v. CHLIC, et
                   al., No. 5:20-cv-02255

Dear Judge DeMarchi:

        Defendants write in response to the Court’s January 11, 2023 order (Dkt. 141, the “Order”)
on the parties’ joint letter outlining their dispute over discovery concerning former MultiPlan
employee Thomas Ralston (Dkt. 129, the “Ralston Joint Submission”). Based on the Court’s
instructions at the hearing on January 10, 2023, Defendants filed a letter yesterday containing the
discovery requests that they served on Plaintiffs covering the requests for discovery in dispute in
the Ralston Joint Submission (Dkt. 140, Exs. 1-4). Later that day, the Court issued its Order, which
also instructed Defendants to file Plaintiffs’ corresponding responses to those requests.
Defendants hereby submit the following additional exhibits, which contain Plaintiffs RJ’s and
DS’s corresponding responses to the discovery requests at issue:

               •   Exhibit 5 1: Plaintiff RJ’s Third Supplemental Responses to Interrogatory Nos. 13
                   (electing to produce documents, none of which identified Mr. Ralston, in response
                   to the interrogatory) and 14 (same); 2 Plaintiff DS’s Second Supplemental
                   Responses to Interrogatory Nos. 13 (stating that “Plaintiff has produced the
                   responsive, relevant, non-privileged material within their custody, care, or control
                   following a diligent and thorough search,” none of which identified Ralston) and
                   14 (same).

               •   Exhibit 6: Plaintiff RJ’s Responses to Cigna’s Request for Production Nos. 8
                   (stating that “Plaintiff will produce all responsive, non-privileged documents in
                   Plaintiff’s possession, custody or control. Discovery is ongoing, and Plaintiff
                   reserves the right to supplement this response as new and relevant information
                   becomes available and known.”), 12 (same), 17 (same); Plaintiff DS’s Responses
                   to Cigna’s Request for Production Nos. 8 (stating that “Plaintiff will produce all

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 Defendants’ January 11, 2023 letter attached Exhibit Nos. 1-4. For ease of reference, Defendants have consecutively
numbered the Exhibits in this letter, beginning at Exhibit 5.
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 In Defendants’ letter yesterday, Defendants noted that “Plaintiff” and “You” are defined in Cigna’s Interrogatories
and Requests for Production as the named plaintiff “including any counsel acting on . . . their behalves.” See Dkt. 140
(Ex. 1 at 4, Ex. 2 at 3). In their responses and objections to Cigna’s Interrogatories and Requests for Production,
Plaintiffs did not object to this definition.


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               responsive, non-privileged documents in Plaintiff’s possession, custody or control.
               Discovery is ongoing, and Plaintiff reserves the right to supplement this response
               as new and relevant information becomes available and known.”), 12 (same) and
               17 (same).

           •   Exhibit 7: Plaintiff RJ’s Responses to MultiPlan’s Request for Production Nos. 10
               (stating that “Plaintiff will produce all responsive, non-privileged documents in
               Plaintiff’s possession, custody or control. Discovery is ongoing, and Plaintiff
               reserves the right to supplement his response as new and relevant information
               becomes available and known to him.”) and 12 (same); MultiPlan’s Request for
               Production to Plaintiff DS Nos. 10 (stating that “Plaintiff will produce all
               responsive, non-privileged documents in Plaintiff’s possession, custody or control.
               Discovery is ongoing, and Plaintiff reserves the right to supplement his response as
               new and relevant information becomes available and known to him.”), and 12
               (same).

        As Defendants explained in yesterday’s letter, in addition to these generally applicable
requests, once Defendants learned Ralston was communicating with Plaintiffs’ counsel, and he
failed to produce any responsive documents in response to Defendants’ subpoenas, Defendants
made targeted document requests via a December 19, 2022 letter to Plaintiffs that were specifically
directed at Ralston in light of his declaration and deposition testimony. In response to that letter,
Plaintiffs stated that they “dispute each of the points raised in [Cigna’s] letter” and would provide
“[a] substantive response . . . under separate cover. . . .” Exhibit 8. Plaintiffs did not, however,
provide a separate written response; instead, the parties met and conferred on December 21, 2022,
after which they began drafting the joint discovery dispute letter on this issue.

         Plaintiffs didn’t argue until the Court’s January 10, 2023 hearing that Defendants’ prior
interrogatories and document requests didn’t cover the requests outlined in their December 19
letter, and Defendants believe that they do. And as Defendants’ counsel explained during
Tuesday’s conference, had Plaintiffs disclosed they were working with Ralston before the close of
discovery deadline, as they should’ve in response to Defendants’ discovery requests and in
Plaintiffs’ initial disclosures, Defendants would have had the opportunity to ask targeted discovery
specific to him within the document discovery deadline. Because Defendants only learned of
Plaintiffs’ relationship with Mr. Ralston on November 23, 2022 when he filed a declaration in LD,
et al. v. United Behavioral Health, et al., No. 3:20-cv-02254, Defendants couldn’t do so.

       Defendants thank the Court for its time and consideration, and we remain available to
address any additional questions that the Court may have.

 Respectfully Submitted,

          PHELPS DUNBAR LLP                                MCDERMOTT WILL & EMERY LLP


 By:      /s/ Errol King                             By: /s/ Joshua B. Simon



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